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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )     Docket Number: 2:02CR00478-02
                                                )
NADIM ANWAR REHMAN                              )
                                                )


On July 2, 2003, the above-named was placed on supervised release for a period of three
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                  Respectfully submitted,

                                   /s/ John A. Poglinco

                                 JOHN A. POGLINCO
                         Senior United States Probation Officer

Dated:         May 15, 2006
               Sacramento, California
               JAP:jz


REVIEWED BY:         /s/ Kyriacos M. Simonidis
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer




                                                                               R ev. 03/2005
                                                                              P R O B 35.M R G
           Case 2:02-cr-00478-WBS Document 85 Filed 06/01/06 Page 2 of 2


Re:   Nadim Anwar REHMAN
      Docket Number: 2:02CR00478-02
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.


Date: May 31, 2006




Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                  R ev. 03/2005
                                                                                 P R O B 35.M R G
